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 IN THE UNITED STATES DISTRICT COURT
 FOR THE WESTERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA,

            -v-
                                                        20-cv-1602-LrV

THE PREMISES AND REAL PROPERTY WITH
BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS AT 132 LAKEFRONT BLVD.,
BUFFALO, NEW YORK, THAT IS, ALL
THAT TRACT OR PARCEL OF LAND, SITUATED
IN THE TOWN OF BUFFALO, COUNTY
OF ERIE, STATE OF NEW YORK, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN
DEED RECORDED IN THE ERIE COI.INTY
CLERK'S OFFICE IN BOOK 11275, PAGE 6575;

THE PREMISES AND REAL PROPERTY WITH
ALL BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS, LOCATED AT 465 BRICKELL
AVENUE, UNIT STO2,MIAMI, FLORIDA, THAT IS,
ALL THAT TRACT OR PARCEL OF LAND,
SITUATED IN THE TOWN OF MIAMI, COLTNTY
 OF DADE AND STATE OF FLORIDA, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN DEED
RECORDED IN DADE COUNTY CLERK,s OFFICE
BOOK 26656, PAGE 4810;

THE PREMISES AND REAL PROPERTY WITH
ALL BUILDINGS, APPURTENANCES, AND
IMPROVEMENTS, LOCATED AT I2O1 2OTH STREET
UNIT 209, MIAMI, FLORIDA, THAT IS,
ALL TFTAT TRACT OR PARCEL OF LAND,
SITUATED IN THE TOWN OF MIAMI, COUNTY
 OF DADE AND STATE OF FLORIDA, AND MORE
PARTICULARLY DESCRIBED IN A CERTAIN DEED
RECORDED IN DADE COUNTY CLERK,s OFFICE
BOOK 30168, PAGE 4010.

                  Defendants.
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         PLEASE TAKE NOTICE that the Plaintiff, United
                                                       States ofAmerica, by its affomey,
 James   P' KennedY, Jr., united states Attomey for the western District
                                                                         of New york,
 Grace   M'   Carducci, Assistant United States Attorney, of counsel,
                                                                      and putative claimant,
 Michael Luehrsen, by and through his attorney, Joel L. Daniels,
                                                                  Esq., jointly move this Court
 for a protective order pursuant to Title 18 united states
                                                           code, $ gs1(gx3) partially unsealing
 Special Agent Kammeraad' s affidavit. In supporr of this
                                                             Motion, the parties state as follows:


         1'     On october 30,2020, the United States of America filed a Verified
                                                                                  Complaint
for Forfeiture against the three above-captioned real properties. SeaDkt.
                                                                          1. In support of its

complaint, the government fi.led an affidavit sworn          to by FBI     Special Agent Jason
Kammeraad.     See   Dkt.   12. The Court then granted the government's motion to seal Special

Agent Kammeraad' s affidavit.      Sse   Dkt.   11.




       2'      The parties now jointly move pursuant to Title 18 United States Code,
                                                                                                $

981(gX3) to partially unseal Special Agent Kammeraad' s affidavit so that the government

can share the affidavit with Joel L. Daniels, Esq., counsel for the putative claimant, Michael

Luehrsen. To protect the government's interests identified in its motion to seal (Dkt. 9), the

parties have agreed to partially unseal the affidavit subject to the conditions identified below.


       3.      Title 18 United States Code, $ 981(gX3) provides that "[w]ith respect to the
impact of civil discovery....the court may determine that a stay is unnecessary if protective

order limiting discovery would protect the interest of one party without unfairly limiting the

ability of the opposing party to pursue the civil case." The statute therefore contemplates a




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court's authority to issue a protective order in a civil forfeiture case in order to protect the

government's investigative interests.



        4.       The parties jointly move for the affidavit of FBI Special Agent           Jason

Kammeraad (Dkt. 12) to be partially unsealed to be utilized by Joel        L. Daniels, Esq., as
counsel for the putative claimant, Michael Luehrsen, solely in connection with pretrial, trial

or other proceedings in this action, including any appeals.


        5.      The parties agree that the affrdavit shall not be disclosed to the public, and it

shall not be disclosed to third parties by Joel L. Daniels, Esq. or Michael Luehrsen except as

necessary    in connection with pretrial proceedings, trial preparation or other proceedings in
this action.


        6.      The parties agree that the copies of the affidavit set forth above shall not be

provided to third parties except those persons or entities employed or engaged for the purpose

of assisting in the defense of this action.


        7.      The parties agree that copies of the affi.davit set forth above shall not be
provided to the putative claimant, Michael Luehrsen, absent further order of the Court.


        8.      The parties agree that the unauthorized copying, dissemination, andlor posting

of copies, or the contents, of the affidavit on the intemet or through any form of social media

shall constitute a violation of the terms of the Court's order.



        g.      The parties agree thatnothing in the Court's shall preclude Joel L. Daniels,

Esq. or Michael Luehrsen from disclosing the contents of the affrdavit during the course of




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litigation of this action in pretrial proceedings, in memoranda filed, at trial, or in post-trial

proceedings.



        10.    The parties agree that Joel L. Daniels, Esq. or Michael Luehrsen may apply to

the Court for an order specifically permitting public disclosure of the above-mentioned

material.

                                         CONCLUSION


       Based on the foregoing, the parties respectfully request that the Court enter a Protective

Order partially unsealing Special Agent Kammeraad's affldavit.


DATED:         Rochester, New York
               December    t4   ,2020


                                            JAMES P. KENNEDY, R.,
                                            United States Attorney
                                            Western District of New York


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